 Case 2:22-bk-10266-BB           Doc 323 Filed 09/28/22 Entered 09/28/22 14:58:04                        Desc
                                  Main Document     Page 1 of 5



1    Eric R. Wilson (CA Bar No. 192220)
     Robert L. LeHane (admitted pro hac vice)
2    Kristin S. Elliott (admitted pro hac vice)
     KELLEY DRYE & WARREN LLP
3
     3 World Trade Center
4    175 Greenwich Street
     New York, New York 10007
5    Telephone: (212) 808-7800
     Facsimile: (212) 808-7897
6    Email: ewilson@kelleydrye.com
             rlehane@kelleydrye.com
7
             kelliott@kelleydrye.com
8    Becca J. Wahlquist (CA Bar No. 215948)
     KELLEY DRYE & WARREN LLP
9
     350 South Grand Avenue, Suite 3800
10   Los Angeles, CA 90071
     Telephone: (213) 547-4900
11   Facsimile: (213) 547-4901
     Email: bwahlquist@kelleydrye.com
12
     Counsel for the Official Committee of
13
     Unsecured Creditors of Escada America, LLC
14
                            UNITED STATES BANKRUPTCY COURT
15                 CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

16   In re                                                 )   Case No: 2:22-bk-10266-BB
                                                           )
17   ESCADA AMERICA, LLC,                                  )   Chapter 11 Case
18                                                         )
             Debtor and Debtor-in- Possession.             )   CHAPTER 11 STATUS REPORT OF THE
19                                                         )   OFFICIAL COMMITTEE OF UNSECURED
                                                           )   CREDITORS
20                                                         )
                                                           )   Hearing:
21                                                         )   Date: October 12, 2022
22                                                         )   Time: 10:00 a.m.
                                                           )   Place:1 Courtroom 1539
23                                                         )           255 East Temple Street
                                                           )           Los Angeles, CA 90012
24                                                         )
                                                           )
25                                                         )
26                                                         )
                                                           )
27
     1
      Hearing in-person and by video-conference Government Zoom, see Court’s website under “Telephonic Instructions for
28
     more details: https://www.cacb.uscourts.gov/judges/honorable-sheri-bluebond.
 Case 2:22-bk-10266-BB       Doc 323 Filed 09/28/22 Entered 09/28/22 14:58:04              Desc
                              Main Document     Page 2 of 5



1

2
             The Official Committee of Unsecured Creditors (the “Committee”) of Escada America, LLC,
3
     the above-captioned debtor and debtor-in-possession (the “Debtor”), respectfully submits this
4
     chapter 11 status report in advance of the chapter 11 status conference hearing set for October 12,
5
     2022:
6
                                            STATUS REPORT
7
             1.    For its status report, the Committee respectfully incorporates by reference the
8
     Committee’s Objection to Debtor’s Motion for Order: (I) Authorizing Use of Cash Collateral
9
     Pursuant to Section 363 of the Bankruptcy Code, and (II) Approving Adequate Protection, filed
10
     contemporaneously with this Status Report.
11
     Dated: September 28, 2022              KELLEY DRYE & WARREN LLP
12
                                            By:     /s/ Eric R. Wilson
13                                          Eric R. Wilson ( CA Bar No. 192220)
                                            Robert L. LeHane (admitted pro hac vice)
14                                          Kristin S. Elliott (admitted pro hac vice)
15                                          3 World Trade Center
                                            175 Greenwich Street
16                                          New York, New York 10007
                                            Tel: (212) 808-7800
17                                          Fax: (212) 808-7897
                                            Email: ewilson@kelleydrye.com
18                                                  rlehane@kelleydrye.com
                                                    kelliott@kelleydrye.com
19
                                            Counsel to the Official Committee of Unsecured
20                                          Creditors of Escada America, LLC
21

22

23

24

25

26

27

28

                                                    2
        Case 2:22-bk-10266-BB                     Doc 323 Filed 09/28/22 Entered 09/28/22 14:58:04                                      Desc
                                                   Main Document     Page 3 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Kelley Drye & Warren LLP, 3 World Trade Center, 175 Greenwich Street, New York, NY 10007.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 STATUS REPORT OF THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/28/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       X    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/28/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Holthouse Carlin & Van Trigt LLP
1801 W.Olympic Blvd.
Pasadena, CA 91199-1404
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/28/2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT
The Honorable Sheri Bluebond
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and
Courthouse 255 E. Temple Street, Suite 1534
Courtroom 1539
Los Angeles, CA 90012



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/28/2022                       Eric R. Wilson                                                 /s/ Eric R. Wilson
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:22-bk-10266-BB                     Doc 323 Filed 09/28/22 Entered 09/28/22 14:58:04                                      Desc
                                                   Main Document     Page 4 of 5



SERVICE VIA ECF

Dustin P Branch on behalf of Creditor The Macerich Company
branchd@ballardspahr.com, carolod@ballardspahr.com, hubenb@ballardspahr.com

John C Cannizzaro on behalf of Creditor 717 GFC LLC
john.cannizzaro@icemiller.com, julia.yankula@icemiller.com

Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
mdarlow@pbfcm.com, tpope@pbfcm.com

Caroline Djang on behalf of Interested Party Caroline R. Djang
cdjang@buchalter.com, docket@buchalter.com lverstegen@buchalter.com

Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
eryk.r.escobar@usdoj.gov

John-Patrick M Fritz on behalf of Attorney Levene, Neale, Bender, Yoo & Golubchik L.L.P.
jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Debtor Escada America, LLC
jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

Jonathan Gottlieb on behalf of Debtor Escada America, LLC
jdg@lnbyg.com

Marshall J Hogan on behalf of Creditor Escada Sourcing and Production, LLC
mhogan@swlaw.com, knestuk@swlaw.com

Marshall J Hogan on behalf of Creditor Mega International, LLC
mhogan@swlaw.com, knestuk@swlaw.com

William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
whuckins@allenmatkins.com, clynch@allenmatkins.com, igold@allenmatkins.com

William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
whuckins@allenmatkins.com, clynch@allenmatkins.com, igold@allenmatkins.com

Gregory Kent Jones (TR)
gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com, cpesis@stradlinglaw.com

Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
mkogan@koganlawfirm.com

Carmela Pagay on behalf of Debtor Escada America, LLC
ctp@lnbyg.com
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:22-bk-10266-BB                     Doc 323 Filed 09/28/22 Entered 09/28/22 14:58:04                                      Desc
                                                   Main Document     Page 5 of 5




Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
bk@bpretail.com

Eric S Pezold on behalf of Creditor Escada Sourcing and Production, LLC
epezold@swlaw.com, knestuk@swlaw.com

Eric S Pezold on behalf of Creditor Mega International, LLC
epezold@swlaw.com, knestuk@swlaw.com

Terrel Ross on behalf of Interested Party TR Capital Management LLC
tross@trcmllc.com

Lindsey L Smith on behalf of Debtor Escada America, LLC
lls@lnbyg.com, lls@ecf.inforuptcy.com

Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
rtucker@simon.com, cmartin@simon.com, psummers@simon.com, Bankruptcy@simon.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov


VIA FIRST CLASS MAIL

Holthouse Carlin & Van Trigt LLP
1801 W.Olympic Blvd.
Pasadena, CA 91199-1404




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
